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a Complete items 1,2, and 3.
® Print your name and address on the reverse
   so that ws can return the card to you.
a Attach this card to the back of the mallpfece,     ^. Reciiv^d' by ^nhf^ Name)
   or on the front if space permits.
1. Article Addressed to:                              D. Is delivery address different from Item 1 ? D Yes
                                                         tf YES, enter delivery address below: Q No




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PS Form 3811, July 2015 PSN 7530-02-000-9053                                                 'Domestic RetunriTieceft)
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